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   77

   88
                               UNITED STATES DISTRICT COURT
   99

  10           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  10
  11
  11 CINDY R. CASTILLO, individually and              Case No.
        on behalf of all others similarly situated,   ASSIGNED FOR ALL PURPOSES
  12
  12
                         Plaintiff,                   TO:
  13
  13                                                  JUDGE:
              v.                                      DEPT:
  14
  14
        BANK OF AMERICA NATIONAL                      CLASS ACTION COMPLAINT
  15
  15 ASSOCIATION, a North Carolina
        Corporation, and DOES 1-10, inclusive,        (1) Failure to Accurately Pay
  16
  16                                                  Overtime Wages;
                         Defendants.
  17
  17                                                  (2) Failure to Pay Minimum Wages;
  18
  18                                                  (3) Failure to Provide Second Meal
                                                      Periods;
  19
  19
                                                      (4) Failure to Provide Rest Periods;
  20
  20
                                                      (5) Failure to Timely Pay Wages;
  21
  21
                                                      (6) Failure to Provide Accurate
  22
  22                                                  Wage Statements;
  23
  23                                                  (7) Unfair Competition; and
  24
  24                                                  (8) Failure to Pay Wages Including
                                                       Overtime (F.L.S.A)
  25
  25
                                                      DEMAND FOR JURY TRIAL
  26
  26
  27

  28


                                       CLASS ACTION COMPLAINT
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   1          COMES NOW CINDY R. CASTILLO (“Plaintiff”), individually and on
   1
   2   behalf of others similarly situated, asserts claims against Defendants BANK OF
   2
   3   AMERICA NATIONAL ASSOCIATION, a North Carolina Corporation, and
   3
   4   DOES 1-10, inclusive, (collectively “Defendants”) as follows:
   4
   5                               JURISDICTION AND VENUE
   5
   6          1.       The United States District Court for the Central District of California
   6
   7   has jurisdiction over this case by virtue of original jurisdiction pursuant to 29
   7
   8   U.S.C. §§ 201, et seq. (“FLSA”) and 28 U.S.C. § 1331. This Court also has
   8
   9   supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over the claims alleged
   9
  10   herein arising under the California Labor Code.
  10
  11          2.       This Court has personal jurisdiction over the Defendants because it
  11
  12   has sufficient minimum contacts in the State to render the exercise of jurisdiction
  12
  13   by this Court proper and necessary. Defendants intentionally avail itself of the
  13
  14   markets within this State through the promotion, sale, marketing, and distribution of
  14
  15   its services.
  15
  16          3.       Venue is proper in the Central District of California under 28 U.S.C. §
  16
  17   1391 because a substantial part of the events or omissions giving rise to the claim(s)
  17
  18   occurred in this judicial district. Defendants conduct business in the City of Brea,
  18
  19   County of Orange, California and each Defendant is within the jurisdiction of this
  19
  20   Court for service of process purposes. The unlawful acts alleged herein have a
  20
  21   direct effect on Plaintiff and those similarly situated within the State of California
  21
  22   and within Brea and elsewhere in California. Defendants employ numerous Class
  22
  23   Members in the County of Orange and throughout California.
  23
  24          4.       Defendants are corporations engaged in banking and other financial
  24
  25   and investment services for the public and are doing business in Brea, California,
  25
  26   and operating at various offices and locations throughout the state of California.
  26
  27   On information and belief, Defendants have conducted business within the State of
  28 California during the purported liability period and continue to conduct business

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   1   throughout the State of California. The unlawful acts alleged herein have had a
   1
   2   direct effect on Plaintiff, and the similarly situated non-exempt employees within
   2
   3   the City of Brea and throughout the State of California, and Defendants employ or
   3
   4   have employed sufficiently numerous Class Members as non-exempt employees.
   4
   5         5.    On information and belief, during the statutory liability period and
   5
   6   continuing to the present ("liability period"), Defendants consistently maintained
   6
   7   and enforced against Defendants’ Non-Exempt Employees, among others, the
   7
   8   following unlawful practices and policies, in violation of California state wage and
   8
   9   hour laws: (a) failure to accurately pay overtime rates and wages; (b) failing to
   9
  10   provide second meal periods; (c) failing to authorize and permit rest periods; (d)
  10
  11   failing to pay all wages earned upon separation from Defendants employ; (e) failure
  11
  12   to provide accurate wage statements; (f) violations of the California Unfair
  12
  13   Competition laws; and (g) failure to pay overtime wages in violation of the Fair
  13
  14   Labor Standards Act 29 U.S.C. §§ 201, et seq. (“FLSA”).
  14
  15         6.     On information and belief, during the statutory liability period and
  15
  16   continuing to the present, Defendants have had a consistent policy of failing to pay
  16
  17   overtime for hours worked in excess of forty hours in a workweek or more than 8
  17
  18   hours in a workday.
  18
  19         7.    On information and belief, during the statutory liability period and
  19
  20   continuing to the present, Defendants have had a consistent policy of failing to
  20
  21   provide its Non-Exempt Employees within the State of California, including
  21
  22   Plaintiff, rest periods of at least (10) minutes per four (4) hours worked or major
  22
  23   fraction thereof and failing to pay such employees one (1) hour of pay at the
  23
  24   employees regular rate of compensation for each workday that the rest period is not
  24
  25   provided, as required by California state wage and hour laws.
  25
  26         8.    On information and belief, during the statutory liability period and
  26
  27   continuing to the present (rest and meal period liability period), Defendants have
  28 had a consistent policy of requiring its Non-Exempt Employees within the State of

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   1   California, including Plaintiff, to work at least five (5) and or ten (10) hours without
   1
   2   a meal period and failing to pay such employees one (1) hour of pay at the
   2
   3   employees regular rate of compensation for each workday that the meal period is
   3
   4   not provided, as required by California state wage and hour laws.
   4
   5         9.     Plaintiff on behalf of herself and all Class Members bring this action
   5
   6   pursuant to Labor Code sections 201, 202, 203, 226.7, 510, 512, 558, 1194, and
   6
   7   California Code of Regulations, Title 8, section 11040 et. seq., applicable IWC
   7
   8   Wage Orders, seeking unpaid overtime wages, seeking rest and meal period
   8
   9   compensation, minimum wages, penalties, and other equitable relief, and
   9
  10   reasonable attorneys’ fees and costs.
  10
  11         10.    Plaintiff, on behalf of herself and all Class Members, pursuant to
  11
  12   Business and Professions Code sections 17200 et seq., also seek injunctive relief
  12
  13   and restitution of all benefits Defendants enjoyed from their failure to pay
  13
  14   minimum wage, overtime wages, rest and meal period compensation, and failure to
  14
  15   pay all wages earned upon separation from Defendants.
  15
  16         11.    Plaintiff, on behalf of herself and all Class Members, also seek
  16
  17   recovery based upon the alleged violations of the Fair Labor and Standards Act, 29
  17
  18   U.S.C. §§ 201 et seq.(“FLSA”).
  18
  19                                           PARTIES
  19
  20         12.    Plaintiff Castillo is and at all times mentioned in this complaint a
  20
  21   resident of Chino Hills, California.
  21
  22         13.    Defendants Bank of America National Association, a North Carolina
  22
  23   Corporation, own and operate full service banks, which serve the general public,
  23
  24   throughout the United States, including California.
  24
  25         14.    Plaintiff is informed and believes, and thereon allege, that at all
  25
  26   relevant times mentioned herein, Defendants are organized and existing under the
  26
  27   laws of California, and were at all times mentioned herein licensed and qualified to
  28 do business in California. On information and belief, Plaintiff alleges that at all

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   1   relevant times referenced herein Defendants did and continue to transact business
   1
   2   throughout California.
   2
   3         15.    Whenever in this complaint reference is made to any act, deed, or
   3
   4   conduct of Defendants, the allegation means that Defendants engaged in the act,
   4
   5   deed, or conduct by or through one or more of its officers, directors, agents,
   5
   6   employees, or representatives, who was actively engaged in the management,
   6
   7   direction, control, or transaction of the ordinary business and affairs of Defendants.
   7
   8         16.    Plaintiff is ignorant of the true names and capacities, whether
   8
   9   individual, corporate, associate, or otherwise, of the Defendants sued herein as
   9
  10   Does 1 through 10, inclusive and therefore sues said Defendants (the “Doe
  10
  11   Defendants”) by such fictitious names. Plaintiff will amend this complaint to insert
  11
  12   the true names and capacities of the Doe Defendants at such time as the identities of
  12
  13   the Doe Defendants have been ascertained.
  13
  14         17.    Plaintiff is informed and believes, and thereon alleges, that the Doe
  14
  15   Defendants are the partners, agents, or principals and co-conspirators of
  15
  16   Defendants, and of each other; that Defendants and the Doe Defendants performed
  16
  17   the acts and conduct herein alleged directly, aided and abetted the performance
  17
  18   thereof, or knowingly acquiesced in, ratified, and accepted the benefits of such acts
  18
  19   and conduct, and therefore each of the Doe Defendants is liable to the extent of the
  19
  20   liability of the Defendants as alleged herein.
  20
  21         18.    Plaintiff is further informed and believes, and thereon allege, that at all
  21
  22   times herein material, each Defendant was completely dominated and controlled by
  22
  23   its co-Defendants and each was the alter ego of the other. Whenever and wherever
  23
  24   reference is made in this complaint to any conduct by Defendant or Defendants,
  24
  25   such allegations and references shall also be deemed to mean the conduct of each of
  25
  26   the Defendants, acting individually, jointly, and severally. Whenever and wherever
  26
  27   reference is made to individuals who are not named as Defendants in this
  28 complaint, but were employees and/or agents of Defendants, such individuals, at all

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   1   relevant times acted on behalf of Defendants named in this complaint within the
   1
   2   scope of their respective employments.
   2
   3                           CLASS ACTION ALLEGATIONS
   3
   4         19.    Pursuant to Fed.R.Civ.P. Rule 23(a) (1)-(4) and 23(b) (3), this action is
   4
   5   brought and may be properly maintained as a class action. This action satisfies the
   5
   6   ascertainability, numerosity, typicality, commonality, adequacy, predominance, and
   6
   7   superiority requirements of those provisions.
   7
   8         20.    Plaintiff brings this action on her own behalf, as well as on behalf of
   8
   9   each and all other persons similarly situated, and thus, seeks class certification
   9
  10   under Federal Rules of Civil Procedure 23.
  10
  11         21.    All claims alleged herein arise under California law for which Plaintiff
  11
  12   seeks relief as authorized by California law.
  12
  13         22.    The proposed class and subclasses are comprised of and defined as
  13
  14   follows:
  14
  15         California Class: Any and all persons who are or were employed as
  15
  16         non-exempt employees or equivalent or related positions, however
  16         titled, by Defendants in the state of California within four (4) years
  17         prior to the filing of the complaint in this action until resolution of this
  17
  18         lawsuit (hereinafter collectively referred to as the “Class” or “Class
  18         Members”).
  19
  19         Plaintiff’s proposed subclasses are comprised of and defined as:
  20
  20
             Sub-Class 1: All Class Members who are or were employed by Defendants
  21
  21         and who worked more than eight (8) hours in a workday or more than forty
  22         (40) hours in a workweek (hereinafter collectively referred to as the
  22
  23
             “Overtime Subclass”).
  23
  24
  24
             Sub-Class 2: All Class Members who are or were employed by Defendants
  25
             and who worked more than ten hours in a workday (hereinafter collectively
  25         referred to as the “Second Meal Period Subclass”).
  26
  26
  27

  28

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   1         Sub-Class 3: All Class Members who are or were employed by Defendants
   1
   2
             and subject to Defendant’s Unfair Business Practices (hereinafter collectively
   2         referred to as the “Unfair Business Practice Subclass”).
   3
   3         23.    The term “Class” includes Plaintiff and all members of the Class and
   4
   4   each of the Sub-Classes. Plaintiff reserves the right to amend the definitions of the
   5
   5   Class and Subclass(es) if necessary. Plaintiff seeks class-wide recovery based on
   6
   6   the allegations set forth in this complaint.
   7
   7         24.    There is a well defined community of interest in this litigation and the
   8
   8   members of the Class and Subclasses are easily ascertainable as set forth below:
   9
   9                a.     Numerosity: The members of the Class and Subclasses are so
  10
  10   numerous that joinder of all members of the Class and Subclasses would be
  11
  11   unfeasible and impractical. The membership of the entire Class and Subclasses is
  12
  12   unknown to Plaintiff at this time, however, the Class is estimated to be greater than
  13
  13   one hundred (100) individuals, and the identity of such membership is readily
  14
  14   ascertainable by inspection of Defendants’ employment records.
  15
  15                b.     Typicality:    Plaintiff is qualified to, and will fairly and
  16
  16   adequately protect the interests of each member of the Class and Subclasses with
  17
  17   whom Plaintiff has a well defined community of interest. Plaintiff’s claims herein
  18
  18   alleged are typical of those claims which could be alleged by any member of the
  19
  19   Class and/or Subclasses, and the relief sought is typical of the relief which would
  20
  20   be sought by each member of the Class and/or Subclasses in separate actions. All
  21
  21   members of the Class and/or Subclasses have been similarly harmed by not being
  22
  22   paid accurate overtime wages and minimum wages, provided second meal periods
  23
  23   or permitted authorized rest periods, were not provided timely payment of wages
  24
  24   upon separation, and were not provided accurate wage statements due to
  25
  25   Defendants’ policies and practices that affected each member of the Class and/or
  26
  26   Subclasses similarly. Further, Defendants benefited from the same type of unfair
  27
       and/or wrongful acts as to each member of the Class and/or Subclasses.
  28

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   1                c.     Adequacy:      Plaintiff is qualified to, and will fairly and
   1
   2   adequately protect the interests of each member of the Class and/or Subclasses with
   2
   3   whom she has a well defined community of interest and typicality of claims, as
   3
   4   demonstrated herein. Plaintiff acknowledges that she has an obligation to make
   4
   5   known to the Court any relationships, conflicts, or differences with any member of
   5
   6   the Class and/or Subclass. Plaintiff’s attorneys and the proposed counsel for the
   6
   7   Class and Subclasses are versed in the rules governing class action discovery,
   7
   8   certification, litigation, and settlement and experienced in handling such matters.
   8
   9   Other former and current employees of Defendants may also serve as
   9
  10   representatives of the Class and Subclass(es) if needed.
  10
  11                d.     Superiority: The nature of this action makes the use of class
  11
  12   action adjudication superior to other methods.          A class action will achieve
  12
  13   economies of time, effort, judicial resources, and expense compared to separate
  13
  14   lawsuits. The prosecution of separate actions by individual members of the Class
  14
  15   and/or Subclasses would create a risk of inconsistent and/or varying adjudications
  15
  16   with respect to the individual members of the Class and/or Subclasses, establishing
  16
  17   incompatible standards of conduct for the Defendants, and resulting in the
  17
  18   impairment of the rights of the members of the Class and/or Subclasses and the
  18
  19   disposition of their interests through actions to which they were not parties.
  19
  20                e.     Public Policy Considerations:        Employers in the state of
  20
  21   California violate employment and labor laws everyday. Current employees are
  21
  22   often afraid to assert their rights out of fear of direct or indirect retaliation. Former
  22
  23   employees are fearful of bringing actions because they believe their former
  23
  24   employers may damage their future endeavors through negative references and/or
  24
  25   other means. The nature of this action allows for the protection of current and
  25
  26   former employees’ rights without fear or retaliation or damage.
  26
  27   ///
  28 ///

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   1                f.     Commonality: There are common questions of law and fact as
   1
   2   to the Class and Subclasses that predominate over questions affecting only
   2
   3   individual members including, but not limited to:
   3
   4                1.     Whether Defendants failed to accurately pay overtime for work
   4
   5   in excess of eight (8) hours per day and/or forty (40) hours per week;
   5
   6                2.     Whether Defendant failed to pay minimum wages for work
   6
   7   performed off-the-clock.
   7
   8                3.    Whether Defendants failed to provide meal periods and authorize
   8
   9   and permit rest breaks in accordance with Labor Code §512 and the applicable
   9
  10   Industrial Welfare Commission (“IWC”) wage order;
  10
  11                4.      Whether Defendant failed to timely pay wages due and owing
  11
  12   upon separation in accordance with Labor Code §§ 201-203.
  12
  13                5.      Whether Defendants failed to provide accurate itemized wage
  13
  14   statements in accordance with the applicable Labor Codes and applicable Industrial
  14
  15   Welfare Commission (“IWC”) wage order.
  15
  16                6.     Whether Defendants engaged in unfair competition in violation
  16
  17   of California Business & Professions Code §§17200, et seq.;
  17
  18                7.      Whether Defendant violated the FLSA for failure to pay
  18
  19   overtime; and
  19
  20                8.     The appropriate amount of damages, restitution, and/or
  20
  21   monetary penalties resulting from Defendants’ violations of California law.
  21
  22                       COLLECTIVE ACTION ALLEGATIONS
  22
  23         25.    Plaintiff hereby incorporates each and every allegation contained
  23
  24   above and re-alleges said allegations as if fully set forth herein.
  24
  25         26.    Plaintiff further bring this suit as a Collective Action under the Fair
  25
  26   Labor and Standards Act, 29 U.S.C. § 201, et. seq., (“FLSA”) on behalf of a
  26
  27   Collective Class, which is constituted of all persons who were, are, or will be
  28 employed by Defendant as:

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    1
    1
    2
              All hourly-paid, non-managerial call-center workers of Bank of America
    2         National Association, in the State of California from March 2014 to the
    3         present who both (a) have at least one Workweek for which they were paid
    3
    4         for 40 or more hours, as reflected in Bank of America National Association’s
    4         payroll records and (b) opt in to the proposed FLSA collective action by
    5         consenting to join.
    5
    6
    6
    7
              27.     Plaintiff alleges that during the Relevant Time Period, she is and was:
    7                      a. An individual who resides in the County of San Bernardino
    8                           and the State of California;
    8
    9                      b. Employed as a non-managerial call-center worker for
    9                           Defendants in the State of California, within the three years
   10                           preceding the filing of the complaint here;
   10
   11                      c. Worked more than 40 hours in a given week;
   11                      d. Did not receive overtime compensation for all hours worked
   12                           over 40 hours in any given week;
   12
   13                      e. Is a member of the Collective Class as defined in paragraph
   13                           26 in this Complaint; and
   14                      f. Plaintiff has consented to join the action.
   14
   15         28.     Defendants are aware or should have been aware that federal law
   15
   16   required them to pay Plaintiffs and the Collective Class overtime premiums for all
   16
   17   hours worked in excess of 40 hours per workweek.
   17
   18         29.     Defendants failed to properly maintain timekeeping and payroll
   18
   19   records pertaining to the Collective Class under the FLSA, 29 U.S.C. 211(c).
   19
   20
   20
              30.     Defendants’ unlawful conduct was widespread, repeated, and
   21   consistent.
   21
   22                              FACTUAL ALLEGATIONS
   22
   23         31.     At all times set forth herein, Defendants employed Plaintiff and other
   23
   24   persons in the capacity of non-exempt employees or related positions with similar
   24
   25   job duties, however titled, throughout the state of California.
   25
   26
   26
              32.     Defendants employed Plaintiff as a “non-exempt employee” as a call-
   27   center worker at its Brea location, during the liability period until her separation in
   28

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    1   approximately September 2016 performing duties relating to Defendant’s financial
    1
    2   and banking business.
    2
    3           33.   Plaintiff is informed and believes, and thereon alleges, that Defendants
    3
    4   are and were advised by skilled lawyers and other professionals, employees, and
    4
    5   advisors with knowledge of the requirements of California’s wage and employment
    5
    6   laws.
    6
    7           34.   During the relevant time frame, Plaintiff and Class Members
    7
    8   frequently worked well over eight (8) hours in a day and forty (40) hours in a work
    8
    9   week, but were not accurately paid overtime wages for that work, as required under
    9
   10   California law.
   10
   11           35.   During the relevant time frame, Defendants compensated Plaintiff and
   11
   12   Class Members based upon an hourly rate.
   12
   13           36.   Plaintiff is informed and believes, and thereon alleges, that during the
   13
   14   relevant time frame, Plaintiff and Class Members were systematically denied
   14
   15   second meal periods within the legally required time frames.            Nevertheless,
   15
   16   Defendants never paid Plaintiff, and on information and belief, never paid Class
   16
   17   Members an extra hour of pay as required by California law where all meal periods
   17
   18   and rest breaks were not provided within the legally required time frames.
   18
   19           37.   Plaintiff is informed and believes, and thereon alleges that, during the
   19
   20   relevant time frame, Defendant also failed to accurately account for overtime, meal
   20
   21   and rest period premiums.
   21
   22           38.   Plaintiff is informed and believes, and thereon alleges, that Defendants
   22
   23   know, should know, knew, and/or should have known that Plaintiff and the other
   23
   24   Class Members were entitled to receive accurate wage statements pursuant to Labor
   24
   25   Code §226.
   25
   26           39.   Plaintiff is informed and believes, and thereon alleges, that Defendants
   26
   27   know, should know, knew, and/or should have known that Plaintiff and the other
   28 Class Members were entitled to receive accurate wages including overtime

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    1   compensation, and premium wages including but not limited to Labor Code §§201-
    1
    2   203, 226.7, 510, 512, 558, 1194 and applicable IWC Wage Orders and California
    2
    3   Code of Regulations, but were not paid all regular and overtime wages and not paid
    3
    4   all meal and rest period premiums due.
    4
    5         40.    On information and belief, during the relevant time frame, Plaintiff
    5
    6   and Class Members worked off the clock by commencing work prior to clocking in
    6
    7   for preparation purposes due to the demands placed upon them by Defendants.
    7
    8   Defendants knew or should have known this was occurring on a common and
    8
    9   regular basis.
    9
   10         41.    Plaintiff is informed and believes, and thereon alleges, that at all times
   10
   11   herein mentioned, Defendants knew that they had a duty to compensate Plaintiff
   11
   12   and Class Members premium wages, and that Defendants had the financial ability
   12
   13   to pay such compensation, but willfully, knowingly, recklessly, and/or intentionally
   13
   14   failed to do so.
   14
   15                               CLASS ACTION CLAIMS
   15
   16      FIRST CAUSE OF ACTION FOR FAILURE TO ACCURATELY PAY
   16
   17                                  OVERTIME WAGES
   17
   18               (On Behalf of the California Class Against All Defendants)
   18
   19         42.    Plaintiff repeats and incorporates herein by reference each and every
   19
   20   allegation set forth above, as though fully set forth herein.
   20
   21         43.    At all times relevant, the IWC wage orders applicable to Plaintiff and
   21
   22   Class Members’ employment by Defendants provided that employees working for
   22
   23   more than eight (8) hours in a day or forty (40) hours in a work week are entitled to
   23
   24   overtime compensation at the rate of one and one-half times the regular rate of pay
   24
   25   for all hours worked in excess of eight (8) hours in a day or forty (40) hours in a
   25
   26   work week. An employee who works more than twelve (12) hours in a day is
   26
   27   entitled to overtime compensation at a rate of twice the regular rate of pay.
   28         44.    Labor Code §510 codifies the right to overtime compensation at the

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    1   rate of one and one-half times the regular rate of pay for all hours worked in excess
    1
    2   of eight (8) hours in a day or forty (40) hours in a work week and to overtime
    2
    3   compensation at twice the regular rate of pay for hours worked in excess of twelve
    3
    4   (12) hours in a day or in excess of eight (8) hours in a day on the seventh day of
    4
    5   work in a particular work week.
    5
    6         45.    At all times relevant, Plaintiff and Class Members regularly worked in
    6
    7   excess of eight (8) hours in a day and/or forty (40) hours in a week.
    7
    8         46.    At all times relevant, Defendants also failed to accurately pay overtime
    8
    9   wages owed to Plaintiff and Class Members by failing to include time for work
    9
   10   performed prior to Plaintiff and Class Members clocking in for their regular
   10
   11   scheduled shifts in order to prepare for their daily assignments.
   11
   12         47.    At all times relevant, Defendants also failed to accurately pay overtime
   12
   13   wages owed to Plaintiff and Class Members by failing to include bonuses earned by
   13
   14   the Plaintiff and Class Members for meeting performance call objective goals into
   14
   15   the regular rates of pay for overtime calculation purposes.
   15
   16         48.    At all times relevant, Plaintiff and Class Members regularly performed
   16
   17   non-exempt work in excess of 50% of the time, and thus, were subject to the
   17
   18   overtime requirements of the applicable IWC wage orders and the Labor Code.
   18
   19         49.    At all times relevant, Defendants also failed to accurately pay overtime
   19
   20   wages owed to Plaintiff and Class Members in violation of Labor Code § 204.3 “(a)
   20
   21   An employee may receive, in lieu of overtime compensation, compensating time off
   21
   22   at a rate of not less than one and one-half hours for each hour of employment for
   22
   23   which overtime compensation is required by law. If an hour of employment would
   23
   24   otherwise be compensable at a rate of more than one and one-half times the
   24
   25   employee’s regular rate of compensation, then the employee may receive
   25
   26   compensating time off commensurate with the higher rate.”
   26
   27         50.    At all times relevant, Defendant failed to accurately account for
   28 compensatory time accrued by the Plaintiff and Class Members and as a result

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    1   failed to provide the compensable rate in violation of Labor Code § 204.3.
    1
    2         51.    Defendants’ failure to pay Plaintiff and Class Members the unpaid
    2
    3   balance of premium overtime compensation violates the provisions of Labor Code §
    3
    4   204.3, §510, and §1194, and the applicable IWC wage orders and is therefore
    4
    5   unlawful.
    5
    6         52.    Accordingly, Defendants owe Plaintiff and Class Members overtime
    6
    7   wages, and have failed and refused, and continue to fail and refuse, to pay Plaintiff
    7
    8   and Class Members the overtime wages owed.
    8
    9       SECOND CAUSE OF ACTION FOR FAILURE TO PAY MINIMUM
    9
   10                                          WAGES
   10
   11               (On Behalf of the California Class Against All Defendants)
   11
   12         53.    Plaintiff repeats and incorporates herein by reference each and every
   12
   13   allegation set forth above, as though fully set forth herein.
   13
   14         54.    At all relevant times, Labor Code §1197 provides that the minimum
   14
   15   wage for employees fixed by the IWC is the minimum wage to be paid to
   15
   16   employees, and the payment of a lesser wage than the established minimum is
   16
   17   unlawful. Further, pursuant to the IWC Wage Order and Labor Code, Plaintiff and
   17
   18   Class Members are to be paid minimum wage for each hour worked, and cannot be
   18
   19   averaged.
   19
   20         55.    The Industrial Welfare Commission Orders and the Labor Code further
   20
   21   provide that the “hours worked” means the “time spent during which an employee
   21
   22   is subject to the control of an employer, and includes all the time the employee is
   22
   23   suffered or permitted to work...”
   23
   24         56.    During the relevant time period, Plaintiff and on information and belief
   24
   25   the Class, were not paid minimum wage for the work time spent in preparation of
   25
   26   daily objectives prior to the Plaintiff and Class Members clocking in for their
   26
   27   regularly scheduled shifts.      Such control by Defendants for time spent for
   28 preparation is compensable time as required by LC §§1194, 1197.

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    1         57.    While Plaintiff and the Class performed the work as described herein,
    1
    2   Defendants policies and practices failed to pay wages for all hours worked, as
    2
    3   required pursuant to Labor Code §§ 200, 1194, and 1197.
    3
    4         58.    Thus, Plaintiff and Class Members are entitled to recover the unpaid
    4
    5   balance of their minimum wage compensation as well as interest, costs, and
    5
    6   attorneys' fees pursuant to Labor Code §§ 1194, 1197 and liquidated damages in an
    6
    7   amount equal to the wages unlawfully unpaid and interest thereon pursuant to
    7
    8   Labor Code §1194.2.
    8
    9         THIRD CAUSE OF ACTION FOR FAILURE TO PROVIDE SECOND
    9
   10                                     MEAL PERIODS
   10
   11               (On Behalf of the California Class Against All Defendants)
   11
   12         59.    Plaintiff repeats and incorporates herein by reference each and every
   12
   13   allegation set forth above, as though fully set forth herein.
   13
   14         60.    Pursuant to Labor Code §512, no employer shall employ an employee
   14
   15   for a work period of more than five (5) hours without providing a meal break of not
   15
   16   less than thirty (30) minutes in which the employee is relieved of all of his or her
   16
   17   duties. An employer may not employ an employee for a work period of more than
   17
   18   ten (10) hours per day without providing the employee with a second meal period
   18
   19   of not less than thirty (30) minutes, except that if the total hours worked is no more
   19
   20   than twelve (12) hours, the second meal period may be waived by mutual consent
   20
   21   of the employer and the employee only if the first meal period was not waived.
   21
   22         61.    Pursuant to the IWC wage orders applicable to Plaintiff and Class
   22
   23   Members’ employment by Defendants, in order for an “on duty” meal period to be
   23
   24   permissible, the nature of the work of the employee must prevent an employee from
   24
   25   being relieved of all duties relating to his or her work for the employer and the
   25
   26   employees must consent in writing to the “on duty” meal period. Plaintiff and
   26
   27   Class Members did not consent in writing to an “on duty” meal period. Further, the
   28 nature of the work of Plaintiff and Class Members was not such that Plaintiff and

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    1   Class Members are prevented from being relieved of all duties.           Despite said
    1
    2   requirements of the IWC wage orders applicable to Plaintiff’s and Class Members’
    2
    3   employment by Defendants and Labor Code §512 and §226.7, Plaintiff and Class
    3
    4   Members were not provided with meal periods within the required time frames.
    4
    5         62.    For the four (4) years preceding the filing of this lawsuit, Defendants
    5
    6   failed to provide Plaintiff and Class Members, in their roles as non-exempt
    6
    7   employees, however titled, second meal periods of not less than thirty (30) minutes
    7
    8   within the required time frames pursuant to the IWC wage orders applicable to
    8
    9   Plaintiff’s and Class Members’ employment by Defendants due to the Defendant’s
    9
   10   demands to complete the production of its marketing materials.
   10
   11         63.    As a proximate result of the aforementioned violations, Plaintiff and
   11
   12   Class Members have been damaged in an amount according to proof at time of trial.
   12
   13         64.    Pursuant to Labor Code §226.7, Plaintiff and Class Members are
   13
   14   entitled to recover one (1) hour of premium pay for each day in which a meal
   14
   15   period was not provided.
   15
   16       FOURTH CAUSE OF ACTION FOR FAILURE TO PROVIDE REST
   16
   17                                         PERIODS
   17
   18               (On Behalf of the California Class Against All Defendants)
   18
   19         65.    Plaintiff repeats and incorporates herein by reference each and every
   19
   20   allegation set forth above, as though fully set forth herein.
   20
   21         66.    Pursuant to the IWC wage orders applicable to Plaintiff’s and Class
   21
   22   Members’ employment by Defendants, “Every employer shall authorize and permit
   22
   23   all employees to take rest periods, which insofar as practicable shall be in the
   23
   24   middle of each work period…. [The] authorized rest period time shall be based on
   24
   25   the total hours worked daily at the rate of ten (10) minutes net rest time per four (4)
   25
   26   hours worked or major fraction thereof.… Authorized rest period time shall be
   26
   27   counted as hours worked, for which there shall be no deduction from wages.”
   28 Labor Code §226.7(a) prohibits an employer from requiring any employee to work

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    1   during any rest period mandated by an applicable order of the IWC.
    1
    2         67.    Defendants were required to authorize and permit employees such as
    2
    3   Plaintiff and Class Members to take rest periods, based upon the total hours worked
    3
    4   at a rate of ten (10) minutes net rest per four (4) hours, or major fraction thereof,
    4
    5   with no deduction from wages. Despite said requirements of the IWC wage orders
    5
    6   applicable to Plaintiff and Class Members’ employment by Defendants, Defendants
    6
    7   failed permit and authorize Plaintiff and Class Members, in their roles as non-
    7
    8   exempt employees, or equivalent positions with similar job duties, however titled,
    8
    9   to take ten (10) minute rest periods for every four (4) hours worked, or major
    9
   10   fraction thereof.
   10
   11         68.    For the four (4) years preceding the filing of this lawsuit, Defendants
   11
   12   failed to provide Plaintiff and Class Members the required rest periods pursuant to
   12
   13   the IWC wage orders applicable to Plaintiff and Class Members’ employment by
   13
   14   Defendants and Labor Code §226.7 as a result of the demands placed upon them by
   14
   15   Defendants’ managers in order for the Plaintiff and Class members to meet their
   15
   16   individual goals.
   16
   17         69.    As a proximate result of the aforementioned violations, Plaintiff and
   17
   18   Class Members have been damaged in an amount according to proof at time of trial.
   18
   19         70.    Pursuant to Labor Code §226.7, Plaintiff and Class Members are
   19
   20   entitled to recover one (1) hour of premium pay for each day in which a rest period
   20
   21   was not provided.
   21
   22     FIFTH CAUSE OF ACTION FOR FAILURE TO TIMELY PAY WAGES
   22
   23               (On Behalf of the California Class Against All Defendants)
   23
   24         71.    Plaintiff repeats and incorporates herein by reference each and every
   24
   25   allegation set forth above, as though fully set forth herein.
   25
   26         72.    Labor Code §§201-202 requires an employer who discharges an
   26
   27   employee to pay compensation due and owing to said employee immediately upon
   28 discharge and that if an employee voluntarily leaves his or her employment, his or

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    1   her wages shall become due and payable not later than seventy-two (72) hours
    1
    2   thereafter, unless the employee has given seventy-two (72) hours previous notice of
    2
    3   his or her intention to quit, in which case the employee is entitled to his or her
    3
    4   wages on their last day of work.
    4
    5          73.    Labor Code §203 provides that if an employer willfully fails to pay
    5
    6   compensation promptly upon discharge, as required by Labor Code §§201-202, the
    6
    7   employer is liable for waiting time penalties in the form of continued compensation
    7
    8   for up to thirty (30) work days.
    8
    9          74.    During the relevant time period, Defendants willfully failed and
    9
   10   refused, and continues to willfully fail and refuse, to pay Plaintiff and Class
   10
   11   Members their wages, earned and unpaid wages, either at the time of discharge, or
   11
   12   within seventy-two (72) hours of their voluntarily leaving Defendants’ employ.
   12
   13   These wages include overtime wages and meal and rest break premiums, but upon
   13
   14   separation Defendants failed to pay wages due and owing within the time frame
   14
   15   specified by Labor Code §§201-202.
   15
   16          75.    Defendants’ willful failure to pay Plaintiff and Class Members their
   16
   17   wages earned and unpaid at the time of discharge, or within seventy-two (72) hours
   17
   18   of their voluntarily leaving Defendants’ employ, violates Labor Code §§201-202.
   18
   19          76.    As a result, Defendants are liable to Plaintiff and members of the Class
   19
   20   for waiting time penalties pursuant to Labor Code §203, in an amount according to
   20
   21   proof at the time of trial.
   21
   22            SIXTH CAUSE OF ACTION FOR UNFAIR COMPETITION
   22
   23                (On Behalf of the California Class Against All Defendants)
   23
   24          77.    Plaintiff repeats and incorporates herein by reference each and every
   24
   25   allegation set forth above, as though fully set forth herein.
   25
   26          78.    Section 226(a) of the California Labor Code requires Defendants to
   26
   27   itemize in wage statements all deductions from payment of wages and to accurately
   28 report total hours worked by Plaintiff and the Class including applicable hourly

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    1   rates and reimbursement expenses among other things. Defendants have knowingly
    1
    2   and intentionally failed to comply with Labor Code section 226 and 204 on wage
    2
    3   statements that have been provided to Plaintiff and the Class.
    3
    4         79.    IWC Wage Orders require Defendants to maintain time records
    4
    5   showing, among others, when the employee begins and ends each work period,
    5
    6   meal periods, split shift intervals and total daily hours worked in an itemized wage
    6
    7   statement, and must show all deductions and reimbursements from payment of
    7
    8   wages, and accurately report total hours worked by Plaintiff and the Class. On
    8
    9   information and belief, Defendants have failed to record all or some of the items
    9
   10   delineated in Industrial Wage Orders and Labor Code §226.
   10
   11         80.    Defendants have also failed to accurately record the meal and rest
   11
   12   period premiums owed and all wages owed per pay period.
   12
   13         81.    Plaintiff and the Class have been injured as they were unable to
   13
   14   determine whether they had been paid correctly for all hours worked per pay period
   14
   15   among other things.
   15
   16         82.    Pursuant to LC section 226, Plaintiff and the Class are entitled up to a
   16
   17   maximum of $4,000 each for record keeping violations.
   17
   18         SEVENTH CAUSE OF ACTION FOR UNFAIR COMPETITION
   18
   19               (On Behalf of the California Class Against All Defendants)
   19
   20         83.    Plaintiff repeats and incorporates herein by reference each and every
   20
   21   allegation set forth above, as though fully set forth herein.
   21
   22         84.    Defendants’ conduct, as alleged in this complaint, has been, and
   22
   23   continues to be, unfair, unlawful, and harmful to Plaintiff and Class Members,
   23
   24   Defendants’ competitors, and the general public.           Plaintiff seeks to enforce
   24
   25   important rights affecting the public interest within the meaning of the California
   25
   26   Code of Civil Procedure §1021.5.
   26
   27         85.    Defendants’ policies, activities, and actions as alleged herein, are
   28 violations of California law and constitute unlawful business acts and practices in

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    1   violation of California Business and Professions Code §§17200, et seq.
    1
    2            86.   A violation of California Business and Professions Code §§17200, et
    2
    3   seq., may be predicated on the violation of any state or federal law. In the instant
    3
    4   case, Defendants’ policy and practice of failing to pay Plaintiff and Class Members
    4
    5   overtime wages over the past four (4) years violates, including but not limited to,
    5
    6   Labor Code §1194, §1198, §510, §510, §204.3 and §203. Defendants’ policy of
    6
    7   failing to provide Plaintiff and the Class with meal periods and rest breaks within
    7
    8   the prescribed time frames or the one (1) hour of premium pay when a meal or rest
    8
    9   break period was not provided or provided outside of the required time frames,
    9
   10   violates Labor Code §512, and §226.7.
   10
   11            87.   Plaintiff and Class Members have been personally aggrieved by
   11
   12   Defendants’ unlawful and unfair business acts and practices alleged herein by the
   12
   13   loss of money and/or property.
   13
   14            88.   Pursuant to California Business and Professions Code §§17200, et
   14
   15   seq., Plaintiff and Class Members are entitled to restitution of the wages withheld
   15
   16   and retained by Defendants during a period that commences four (4) years prior to
   16
   17   the filing of this complaint; an award of attorneys’ fees, interest; and an award of
   17
   18   costs.
   18
   19                    EIGHTH CAUSE OF ACTION PURSUANT TO
   19
   20                       FAILURE TO PAY OVERTIME (“FLSA”)
   20
   21        (On Behalf of the Collective Class and the General Public Against All
   21
   22                                        Defendants)
   22
   23            89. Plaintiff repeats and incorporates herein by reference each and every
   23
   24   allegation set forth above, as though fully set forth herein.
   24
   25            90. At all times relevant to this action, Defendants were engaged in
   25
   26   interstate commerce, or in the production of goods for commerce, as defined by the
   26
   27   FLSA.
   28            91. At all times relevant to this action, Plaintiffs were “employees” of

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    1   Defendants within the meaning of 29 U.S.C. § 203(e)(1) of the FLSA.
    1
    2            92. Plaintiffs and the Collective Class, by virtue of their job duties and
    2
    3   activities performed, are non-exempt employees.
    3
    4            93. Defendants are not “retail or service establishments” as defined by 29
    4
    5   U.S.C. § 213(a)(2) of the FLSA.
    5
    6            94. Plaintiff and the Collective Class have either (1) engaged in commerce;
    6
    7   or (2) engaged in the production of goods for commerce; or (3) were employed in
    7
    8   an enterprise engaged in commerce or in the production of goods for commerce.
    8
    9            95. At all times relevant to this action, Defendants “suffered or permitted”
    9
   10   Plaintiffs and the Collective Class to perform off-the-clock work each shift, but
   10
   11   failed to pay these employees the federally mandated overtime compensation for
   11
   12   this work in violation of 29 U.S.C. § 206 et. seq.
   12
   13            96. At all times relevant to this action, Plaintiff and the Collective Class
   13
   14   were also suffered to work in excess of 40 hours per week without premium pay for
   14
   15   in violation of 29 U.S.C. § 216 et. seq.
   15
   16            97. Defendants’ violations of the FLSA were knowing and willful.
   16
   17   Defendants could have easily accounted for and properly compensated Plaintiffs
   17
   18   and the Collective Class but have failed to do so.
   18
   19            98. Plaintiff has consented to be joined in this action.
   19
   20            99. Plaintiff therefore seeks damages in an amount equal to the unpaid
   20
   21   overtime wages due and owing to the Collective Class, along with liquidated
   21
   22   damages in an equal amount, costs and attorney’s fees as provided for in 29 U.S.C.
   22
   23   § 216.
   23
   24                                   PRAYER FOR RELIEF
   24
   25        WHEREFORE, Plaintiff prays judgment against Defendants, as follows:
   25
   26                                       Class Certification
   26
   27            1.    That this action be certified as a class action;
   28            2.    That Plaintiff be appointed as the representative of the Class;

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    1            3.   That Plaintiff be appointed as the representative of the Subclass; and
    1
    2            4.   That counsel for Plaintiff be appointed as counsel for the Class and
    2
    3                 Subclass.
    3
    4                                On the First Cause of Action
    4
    5            1.   For compensatory damages in an amount equal to the amount of
    5
    6   unpaid overtime owed to Plaintiff and Class Members;
    6
    7            3.   For pre-judgment interest on any unpaid overtime compensation due
    7
    8   from the day that such amounts were due;
    8
    9            3.   For reasonable attorneys’ fees and costs pursuant to Labor Code
    9
   10   §1194; and
   10
   11            4.   For such other and further relief as the Court deems proper.
   11
   12                              On the Second Cause of Action
   12
   13            1.   For compensatory damages equal to the unpaid balance of minimum
   13
   14   wage compensation owed to Plaintiff and Class members as well as interest and
   14
   15   costs;
   15
   16            2.   For reasonable attorneys’ fees and costs pursuant to Labor Code §
   16
   17   1194;
   17
   18            3.   For liquidated damages in an amount equal to the wages unlawfully
   18
   19   unpaid and interest thereon pursuant to Labor Code § 1194.2
   19
   20            4.   For such other and further relief as the Court deems proper.
   20
   21                               On the Third Cause of Action
   21
   22            1.   For one (1) hour of premium pay for each day in which a required
   22
   23   second meal period was not provided or not provided in a timely manner; and
   23
   24            2.   For such other and further relief as the Court deems proper.
   24
   25                               On the Fourth Cause of Action
   25
   26            1.   For one (1) hour of premium pay for each day in which a required rest
   26
   27   period was not provided; and
   28            2.   For such other and further relief as the Court deems proper.

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    1                               On the Fifth Cause of Action
    1
    2         1.     For statutory penalties pursuant to Labor Code §203;
    2
    3         2.     For interest for wages untimely paid; and
    3
    4   For such other and further relief as the Court deems proper.
    4
    5                              On the Sixth Cause of Action
    5
    6         1.     For statutory penalties pursuant to Labor Code §226;
    6
    7         2.     For interest for wages untimely paid; and
    7
    8         3.     For such other and further relief as the Court deems proper
    8
    9                             On the Seventh Cause of Action
    9
   10         1.     That Defendants, jointly and/or severally, pay restitution of sums to
   10
   11   Plaintiff and Class Members for their past failure to pay overtime wages over the
   11
   12   last four (4) years in an amount according to proof;
   12
   13         2.     That Defendants, jointly and/or severally, pay restitution of sums to
   13
   14   Plaintiff and Class Members for their past failure to pay premium wages for meal
   14
   15   and/or rest periods that were not provided to Plaintiff and Class Members over the
   15
   16   last four (4) years in an amount according to proof;
   16
   17         3.     For pre-judgment interest on any unpaid overtime wages due from the
   17
   18   day that such amounts were due;
   18
   19         4.     For reasonable attorneys’ fees that Plaintiff and Class Members are
   19
   20   entitled to recover under Labor Code §1194;
   20
   21         5.     For costs of suit incurred herein that Plaintiff and Class Members are
   21
   22   entitled to recover under Labor Code §1194; and
   22
   23         6.     For such other and further relief as the Court deems proper.
   23
   24                              On the Eighth Cause of Action
   24
   25         1.     For general damages as measured by unpaid overtime wages;
   25
   26   liquidated damages, an equal amount to the unpaid overtime wages under federal
   26
   27   law, including, inter alia, 29 U.S.C. § 216 et. seq.; and interest and attorneys fees
   28   pursuant to, inter alia, 29 U.S.C. § 216 et. seq.; and

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    1       2.     For such other and further relief as the Court deems proper.
    1
    2
    2
    3                          DEMAND FOR JURY TRIAL
    3
    4       Plaintiff and members of the Class and Subclass request a jury trial in this
    4
    5 matter.
    5
    6 Dated: March 31, 2017                   JAMES HAWKINS APLC
    6
    7                                         By:/s/ Gregory Mauro
    7                                             JAMES R. HAWKINS, ESQ.
    8                                             GREGORY MAURO, ESQ.
    8                                             Attorneys for Plaintiff CINDY R.
    9                                             CASTILLO and for Members of the
    9                                             Class and Subclass
   10
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